   Case 2:20-cr-00044-MHT-SMD Document 31 Filed 09/25/20 Page 1 of 4



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )        CRIMINAL ACTION NO.
     v.                            )            2:20cr44-MHT
                                   )                (WO)
TIFFANY CULLIVER FRANKLIN          )

                                ORDER

    This cause is before the court on the joint motion

of defendant Tiffany Culliver Franklin and the government

to continue trial.      For the reasons set forth below, the

court finds that jury selection and trial, now set for

October   19,   2020,     should       be   continued    pursuant      to

18 U.S.C. § 3161(h)(7).

    While the granting of a continuance is left to the

sound discretion of the trial judge, United States v.

Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986), the court

is limited by the requirements of the Speedy Trial Act,

18 U.S.C. § 3161.       The Act provides in part:

    "In any case in which a plea of not guilty is
    entered, the trial of a defendant charged in an
    information or indictment with the commission of
    an offense shall commence within seventy days
    from the filing date (and making public) of the
    information or indictment, or from the date the
   Case 2:20-cr-00044-MHT-SMD Document 31 Filed 09/25/20 Page 2 of 4




       defendant has appeared before a judicial officer
       of the court in which such charge is pending,
       whichever date last occurs."

§ 3161(c)(1).         The Act excludes from the 70-day period

any continuance based on "findings that the ends of

justice served by taking such action outweigh the best

interest of the public and the defendant in a speedy

trial."          § 3161(h)(7)(A).              In     granting       such     a

continuance, the court may consider, among other factors,

whether the failure to grant the continuance "would be

likely    to   ...      result     in   a   miscarriage       of    justice,"

§ 3161(h)(7)(B)(i),           or    “would     deny       counsel    for    the

defendant      or    the    attorney        for     the     Government      the

reasonable       time    necessary       for   effective         preparation,

taking    into      account    the      exercise    of     due    diligence,”

§ 3161(h)(7)(B)(iv).

       The court concludes that, in this case, the ends of

justice served by granting a continuance outweigh the

interest of the public and Franklin in a speedy trial.

Both    parties      represent       that   they     need    more    time    to

                                        2
   Case 2:20-cr-00044-MHT-SMD Document 31 Filed 09/25/20 Page 3 of 4




prepare for the trial, in part due to conflicts in the

schedules     of    counsel     for      both    Franklin    and       the

government.        Franklin    has      agreed   to   a   continuance,

expressly waiving her speedy trial right and asking the

court to grant the continuance.             There is no indication

of a lack of due diligence on the part of either defense

counsel or the attorney for the government.                 The court

finds that a continuance is necessary in order to allow

sufficient time for the parties to prepare for trial.

                              ***

    Accordingly, it is ORDERED as follows:

    (1) The joint motion to continue trial (doc. no. 27)

is granted.

    (2) The jury selection and trial, now set for October

19, 2020, are reset for the term of court beginning on

December 7, 2020, at 10:00 a.m., in Courtroom 2FMJ of the

Frank M. Johnson Jr. United States Courthouse Complex,

One Church Street, Montgomery, Alabama.



                                    3
   Case 2:20-cr-00044-MHT-SMD Document 31 Filed 09/25/20 Page 4 of 4




    The United States Magistrate Judge shall conduct a

pretrial conference prior to the December trial term.

    DONE, this the 25th day of September, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




                                  4
